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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF VERMONT


   GARRET SITTS, et al.,

           Plaintiffs,                                      Civil Action No. 2:16-cv-00287-cr

   v.

   DAIRY FARMERS OF AMERICA, INC. and
   DAIRY MARKETING SERVICES, LLC,

           Defendants.



               DEFENDANTS DAIRY FARMERS OF AMERICA, INC. AND
                     DAIRY MARKETING SERVICES, LLC’S
                       PROPOSED JURY INSTRUCTIONS

        Pursuant to the Court’s November 18, 2019 Order, Defendants Dairy Farmers of America,

Inc. (“DFA”) and Dairy Marketing Services, LLC (“DMS”) (collectively “DFA”) respectfully

submit their proposed jury instructions, which are included as Attachment A. DFA reserves the

right to further amend its proposed jury instructions, including as a result of the Court’s ruling on

any pending motion, its rulings during trial (including pursuant to Federal Rule of Civil Procedure

50) and/or its resolution of any other dispute that bears on the legal claims in this case.

        As just one example, DFA has moved in limine prior to trial to exclude several categories

of evidence and argument. These motions are currently pending and not yet resolved. To the

extent that any jury instruction proposed by DFA relates to any legal issue that is currently subject

to a motion in limine, DFA reserves the right to amend its proposed jury instructions—and to

propose additional limiting instructions—after the Court rules on that issue.

        Pursuant to the November 14, 2019 pretrial conference, DFA has also included, for the

Court’s ease of reference, the boilerplate jury instructions issued by the Court in Securities &
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Exchange Commission v. McGinnis, No. 5:14-cv-6-CR (D. Vt. Mar. 22, 2019) (Reiss, J.), ECF

No. 656, along with DFA’s proposed instructions regarding the claims and defenses in this matter.



 Dated: July 1, 2020                        Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I hereby certify that on July 1, 2020, I electronically filed with the Clerk of Court the
foregoing document using the CM/ECF system. The CM/ECF system will provide service of such
filing via Notice of Electronic Filing (NEF) to the following NEF parties:

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